it, Gime, INAL cr- “00561- LAP Document 4 Filed 08/06/19. Page 1 of 9
RIGI

 

 

 

 

 

‘Appearance Bond A USS ae
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UNITED STATES pst ¥)
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for the . Loy MO My, ye . Se
Southem District of New York... , “""@ “| uv f Se
United States of America } ey
at he
Vv. ) Sy Sy é
) 19CR561 (LAP)- oe
STEVEN DONZIGER )
Defendant )
APPEARANCE BOND _
Defendant’s Agreement
L STEVEN DONZIGER (defendant), agree to follow every order of this court, or any

 

court that considers this case, and I further agree that this bond may be forfeited if I fail:
( XX] ) to appear for court proceedings;
( ]) if convicted, to surrender to serve a sentence that the court may impose; or
( BJ} to comply with all conditions set forth in the Order Setting Conditions of Release.

 

 

Type of Bond
( I) (1) This is a personal recognizance bond.
(  ) (2) This is an unsecured bond of $
( &] ) G) This is a secured bond of $ $00,000 , secured by:
(LJ) fa) $ _, in cash deposited with the court.

( &] ) (b) the agreement of the defendant and each surety to forfeit the following cash or other property
(describe the cash or other property, including claims on it— such as a lien, mortgage, or loan — and attach proof of
ownership and value):

$800,000 CASH/PROPERTY

 

 

If this bond is secured by real property, documents to protect the secured interest may be filed of record.

( CJ ) (c) a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):

 

 

 

Forfeiture or Release of the Bond

Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
agreement, The court may immediately order the amount of the bond surrendered to the United States, including the
security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
interest and costs.

 
Case 1:19-cr-00561-LAP Document 4 Filed 08/06/19 Page 2 of 9

Page 2

AO 98 (Rev. 12/11) Appearance Bond

Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
security will be released when either; (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
serve a sentence.

Declarations

Ownership of the Property. 1, the defendant — and each surety — declare under penalty of perjury that:

(1) all owners of the property securing this appearance bond are included on the bond;
(2) the property is not subject to claims, except as described above; and
(3) I will not sell the property, allow further claims to be made against it, or do anything to reduce its value

while this appearance bond is in effect.

Acceptance. 1, the defendant — and each surety — have read this appearance bond and have either read all the conditions of
release set by the court or had them explained to me. [agree to this Appearance Bond.

I, the defendant ~ and each surety — declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)

bate: B69 J en

Defendant's signature STEVEN DONZIGER

 

 

 

kA NMA
‘ We o4 (19 Surety/property “_ —Le Ur a M i ler L Surety/property owner — signature and date

TEM EH MAY he va poole [C LOY, —

‘ Suyfetyproperty owner — signature and date

 

   

Surety/property owner

wee

 

Surety/property owner — Surety/property owner — signature and date
CLERK OF COURT
Date: 8/6/19 WBC

 

~ Signature of Clerk or Deputy Clerk -

SPECIAL Abfiet RITA GLAVIN
Be cd tlery

Approved.

 

Date: 8/6/19

 
Case 1:19-cr-00561-LAP Document 4 Filed 08/06/19 Page 3 of 9

AQ 199A (Rev. 12/11) Order Setting Conditions of Release ' : Page | of __ Pages

 

UNITED STATES DISTRICT COURT

for the
Southern District of | New York

United States of America

 

y. )
) Case No.
)  19CR561 (LAP)
STEVEN DONZIGER )
— Defendant }

ORDER SETTING CONDITIONS OF RELEASE
IT IS ORDERED that the defendant’s release is subject to these conditions:
(1) The defendant must not violate federal, state, or local law while on release.
(2) The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

(4) The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at:

 

Place

 

on

 

Date and Time

If blank, defendant will be notified of next appearance.

(5) The defendant must sign an Appearance Bond, if ordered.
Case 1:19-cr-00561-LAP Document4 Filed 08/06/19 Page 4 of 9

 

ADDITIONAL CONDITIONS OF RELEASE

(B24) (s) $800,000 PRB CO-SIGNED BT TWO (2) FINANCIALLY RESPONSIBLE PERSONS AND SECURED BT
$800,000 CASH/PROPERTY; FRAVEL RESTRICTED TO SDNY/EDNY (ANY TRAVEL MUST BE
REQUESTED); SURRENDER TRAVEL DOCUMENTS & NO NEW APPLICATIONS; STRICT PRETRIAL
SUPERVISION; HOME DETENTION (CONDITIONS SUFFICIENT TO ALLOW MR. DONZIGER TO
COMPLETE FAMILY OBLIGATIONS & LEGAL MEETINGS); ELECTRONIC MONITORING.
CONDITIONS TO BE MET BY AUGUST 9, 2019 EXCEPT THE SECURITY PROVISION WHICH SHALL BE
COMPLETED BY AUGUST 13, 2019 AND ANY AND ALL PASSPORTS WITHIN 24 HOURS, MODIFIED BY
USDJ LORETTA A, PRESKA ON 08-23-2019: TO PERMIT THE SIGNATURE OF A THIRD COSIGNER SO
THAT THE ADDITIONAL SURETY CAN SIGN IT TODAY AND POST PROPERTY,

 

 
Case 1:19-cr-00561-LAP Document4 Filed 08/06/19 Page 5 of 9

AO 199B (Rev. 12/11) Additional Conditions of Release \

. Page _—of ss Pages
ADDITIONAL CONDITIONS OF RELEASE

IT IS FURTHER ORDERED that the defendant’s release is subject to the conditions marked below:

(EL) (6) The defendant is placed in the custody of:
Person or organization

 

 

Address (only ifabove is an organization)
City and state Tel. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant's appearance al all court proceedings, and (c) notify the court |
immediately if the defendant violates a condition of release or is no longer in the custodian’s custody. |

 

 

 

 

Signed:

 

Custodian Date /
(BI) (7) The defendant must:
(X ) (a} submit to supervision by and report for supervision to the PRETRIAL SERVICES ,
telephone number _ , no later than :
( ) (6) continue or actively seek employment.
({]) (c) continue or start an education program,
(4) (d) surrender any passport to: PRETRIAL SERVICES
(1) (e) not obtain a passport or other international travel document,
(C1) (f) abide by the following restrictions on personal association, residence, or travel: SDNY/EDNY ANY TRAVEL MUST BE
REQUESTED

 

 

 

 

 

 

(L]) ¢g) ‘avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

 

 

(()) th) get medical or psychiatric treatment:

 

 

(C1) G) return to custody each at o’clock after being released at o’clock for employment, schooling,

or the following purposes:

 

 

({]) G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
necessary.

( } (k) not possess a firearm, destructive device, or other weapon.

(C1) @) notuse alcohol ( [1] )atall( [1 ) excessively.

(1) Gm) not use or unlawfully possess a narcotic drug or other controfled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

( ) {) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer, Testing may be used with
random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
accuracy of prohibited substance screening or testing.

( ) (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
supervising officer.

() (p) participate in one of the following location restriction programs and comply with its requirements as directed.

(C]) Gi) Curfew. You are restricted to your residence every day( []) from _ te, ___, or (0 Jas
directed by the pretrial services office or supervising officer, or

(24) Gi) Home Detention. You are restricted to your residence at all times except for employment; education, religious services;
medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
activities approved in advance by the pretrial services office or supervising officer; or

(1) Git) Home Incarceration. You are restricted to 24-hout-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

(EJ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.

(C1) You must pay afl or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
supervising officer.

({]) @) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
arrests, questioning, or traffic stops.
Case 1:19-cr-00561-LAP Document 4 Filed 08/06/19 Page 6 of 9
- AQ I99C (Rev, 09/08) Advice of Penalties Page sof Pages

ADVICE OF PENALTIES AND SANCTIONS

TO THE DEFENDANT: STEVEN DONZIGER DEFENDANT RELEASED 19CR561 8/6/19
YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
imprisonment, a fine, or both.

While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten

years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (i.e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
intimidation are significantly more serious if they involve a killing or attempted killing.

If, after release, you knowingly fail to appear as the conditions of release require, or to surrender to serve a sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more — you will be fined

not more than $250,000 or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years — you will be fined not

more than $250,000 or imprisoned for not more than five years, or both;

(3) any other felony — you will be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor — you will be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

Acknowledgment of the Defendant
I acknowledge that 1 am the defendant in this case and that | am aware of the conditions of release. I promise to obey all

conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
set forth above.

 

 

 

Defendant's Signature -

 

City and State

Directions to the United States Marshal

( L)) The defendant is ORDERED released after processing.

( L1) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
produced before the appropriate judge at the time and place specified.

Date: |

 

 

Judicial Officer's Signature

 

Printed name and title

 
Case 1:19-cr-00561-LAP Document4 Filed 08/06/19 Page 7 of 9

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AUSA (lichen lds 0 DER’S COUNSEL g (oO Se. |

 

 

 

(J RETAINED (0 FEDERAL DEFENDERS LICIA
O INTERPRETER NEEDED (J DEFENDANT WAIVES PRE-TRIALREPORT
—_ TIME OF ARREST CON WRIT
x] Other: é Cioninae Cod AUC TIME OF PRESENTMENT

 

BAIL DISPOSITION

(3 DETENTION ON CONSENT W/O PREJUDICE = CJ DETENTION: RISK OF FLIGHT/DANGER =‘ SEE ORDER
(9 DETENTION; HEARING SCHEDULED FOR
CO AGREED CONDITIONS OF RELEASE . Crd wo lon rot

2 DEFENDANT RELEASED ON OWN RECOGNIZA 7 ane Deshler Baar anise
P ‘i \
C1 SECURED BY $ £00,000 Co“ {nod ey 0 me S e wl

VO
\@SURRENDER TRAVEL DOCUN (& NO NEW APPLICATIONS) ~ + All CGss D(T> utnin ay {pia
CO REGULAR PRETRIAL SUPERVISION CT PRETRIAL SUPERVISION

["] DRUG TESTING/TREATMENT [MENTAL HEALTH EVALUATION/TREATMENT

C1] HOME INCARCERATION ‘HOME DETENTION CICURFEW $HLECTRONIC,MONITORING
(J OTHER CONDITIONS Ke. LAS .
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(ium hoe “Ceaeoaatect 1 S 3S ee ae

C1 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET

[] DEF, TO BE RELEASED ON OWN SIGNATURE; REMAINING CONDITIONS TO BE MET BY
() DEK TO BE RELEASED UPON SATISFACTION OF FOLLOWING CONDITIONS:
; REMAINING CONDITIONS TO BE MET BY

|
© Rule 5 ORule9 O Rule 5X3} [ Detention Hrg. DATE OF ARREST O VOL. SURR.
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COMMENTS/ADBITIONAL PROCEEDINGS:

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Siar. ARRAIGNED; PLEADS NOT GUILTY CO CONFERENCE BEFORE DJ, ON
O SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 3161(h)(7) UNTIL

FOR RULE 5(¢)(3) CASES:

 

 

OIDENTITY HEARING WAIVED O PRELIMINARY HEARING WAIVED
£] DEFENDANT TO BEB REMOVED 1 ON DEFENDANT'S CONSENT
DATE FOR PRELIMINARY HEARING O1 ON DEFENDANT'S CONSENT

DATE Cugeod L, 2019 ) Cush

UNITED STATES MAGTSSREATE JUDGE, S.DN.Y.
DSH

WHITH (ORIGINAL) - COURT FILE PINK - U.S. ATTORNEY'S OFFICE YELLOW : U.8 MARSHAL. GREEN - PRETRIAL SERVICES AGENCY
REV (2011) iH-2

 
AQ 199C (Rey. 09/08} Advice of Penalties

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DISTRIBUTION: COURT DEFENDANT, PRETRIALSERVICE U.S.ATTORNEY U.S, MARSHAL

 

Southern District of Sew York

The Grenx |

Manhattan

Westchester
Rockland
Dutchess

Orange

Putnam
Sullivan

 
 
 
 
 
 
 
 
 
 
 
 
 
 

 

Eastern District of Sew York

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Case 1:19-cr-00561-LAP Document4 Filed 08/06/19 Page 9 of 9
Case 1:19-cr-00561-LAP Document 23 Filed 08/23/19 Page i of 1

THE LAW OFFICES OF

ANDREW J. Frisco, PLLC

ONE PENN PLAZA JASON D. WRIGHT
wEW Yo ni wwuw rome ADMITTED IN NEW. YORK. VIRGINIA
J A IO11e
AND THE DIS FCO
(212) 286-BOCo August 3, 2019 or countent ee

RA: (64e) Gos-case

By ECF
The Honorable Loretta A, Preska
United States District Judge
Southern District of New York

- $00 Pearl Street
New York, New York 10007

Re, United States v. Sleven Donziger;
Criminal Dacket Number 19-561 (LAP);
(Civil Docket Number 11-691).

 

Dear J udge Preska:

This morning, upon asking the prosecutor to cause Mr, Do nziger’ s bond to be
transmitted to the Northern District of California where an additional surety is ready to.sign and
post property in compliance with the Court’s order of eatlier this week, the prosecutor advised
me that the Clerk of the Court cannot transmit the bond to another District until the bond
expressly authorizes the signature of a third cosigner, For these reasons, T respectfully request
that the Court order the Clerk fo amend the bond to permit the signature of a third cosigne:
that the additional surety can sign it today and post property.

   

Respectfully submitted,
{sf
Andrew J, Frisch

ec: Mg. Rita M. Glavin

WWW. ANDREWFRISCH.COM

 

 
